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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA
                             WASHINGTON D.C.

UNITED STATES OF AMERICA

v.                                           CASE NO. 1:21-cr-00328-TSC

ROBERT SCOTT PALMER
                                      /

           SENTENCING MEMORANDUM AND MOTION FOR
                    DOWNWARD VARIANCE

      Defendant Robert Palmer, by and through undersigned counsel, pursuant to

18 U.S.C. §§ 3553 and 3661 and Rule 32(i) of the Federal Rules of Criminal

Procedure, hereby moves this Honorable Court to vary downward from the

applicable advisory Sentencing Guidelines range and, in addition, presents the

following relevant information for the Court to consider in determining a reasonable

sentence to impose in this case:

                      Facts and Sentencing Considerations

      Mr. Palmer pled guilty pursuant to plea agreement to one count of Assaulting,

Resisting, or Impeding Certain Officers Using a Dangerous Weapon in violation of

18 USC §§ 111(a) and (b). The charged dangerous weapon was a fire extinguisher

that Mr. Palmer retrieved while at the Capitol and threw at officers. Mr. Palmer, a

father of four and successful businessman, recognizes that his actions were

inexcusable and completely out of character for him. As set forth below, Mr. Palmer
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committed his offense while swept up in the furor of the crowd of protestors at the

Capitol. As soon as he learned that he was under investigation, with assistance of

undersigned counsel, he surrendered to law enforcement and admitted his role in the

offense. He entered a guilty plea, being one of the first defendants to do so as it

relates to 18 USC 111(b).

      Mr. Palmer’s advisory Guidelines range, as calculated by Probation, falls at

total offense level 26 and criminal history category I. At that range, the Guidelines

suggest a sentence of 63 to 78 months. That proposed Guidelines calculation,

however, omits a downward adjustment for acceptance of responsibility. As set

forth below, Mr. Palmer has accepted responsibility for his offense and should

correspondingly receive at least a two-level downward adjustment. With that two-

level adjustment, the advisory Guidelines range would then be 51 to 63 months.

Regardless of the final guideline range, Mr. Palmer respectfully propose that a

downward variance to a sentence of 24 months imprisonment would be a sentence

that is sufficient, but not greater than necessary, to satisfy the purposes of sentencing

set forth in 18 U.S.C. § 3553(a).

           I. Mr. Palmer has Accepted Responsibility for his Actions and
           his Offense and Should Correspondingly Review a Downward
                    Adjustment for Acceptance of Responsibility

      The Guidelines provide for a two-level downward adjustment of the offense

level “[i]f the defendant clearly demonstrates acceptance of responsibility for his

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offense.” U.S.S.G. § 3E1.1(a). The Application Notes to section 3E1.1 further

direct:

          1. In determining whether a defendant qualifies under subsection (a),
          appropriate considerations include, but are not limited to, the following:

          (A) truthfully admitting the conduct comprising the offense(s) of
          conviction, and truthfully admitting or not falsely denying any
          additional relevant conduct for which the defendant is accountable
          under § 1B1.3 (Relevant Conduct). Note that a defendant is not required
          to volunteer, or affirmatively admit, relevant conduct beyond the
          offense of conviction in order to obtain a reduction under subsection
          (a). A defendant may remain silent in respect to relevant conduct
          beyond the offense of conviction without affecting his ability to obtain
          a reduction under this subsection. However, a defendant who falsely
          denies, or frivolously contests, relevant conduct that the court
          determines to be true has acted in a manner inconsistent with
          acceptance of responsibility;
          (B) voluntary termination or withdrawal from criminal conduct or
          associations;
          (C) voluntary payment of restitution prior to adjudication of guilt;
          (D) voluntary surrender to authorities promptly after commission of the
          offense;
          (E) voluntary assistance to authorities in the recovery of the fruits and
          instrumentalities of the offense;
          (F) voluntary resignation from the office or position held during the
          commission of the offense;
          (G) post-offense rehabilitative efforts (e.g., counseling or drug
          treatment); and
          (H) the timeliness of the defendant's conduct in manifesting the
          acceptance of responsibility.

U.S.S.G. § 3E1.1, cmt. n.1.

          The Application Notes then go on to provide that “[e]ntry of a plea of guilty

prior to the commencement of trial combined with truthfully admitting the conduct


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comprising the offense of conviction, and truthfully admitting or not falsely denying

any additional relevant conduct for which he is accountable under § 1B1.3 (Relevant

Conduct) (see Application Note 1(A)), will constitute significant evidence of

acceptance of responsibility…” U.S.S.G. § 3E1.1, cmt. n.3. To be sure, the Notes

further state that “this evidence may be outweighed by conduct of the defendant that

is inconsistent with such acceptance of responsibility.” As an example of conduct

indicating a lack of acceptance of responsibility, Application Note 4 states that

“[c]onduct resulting in an enhancement under § 3C1.1 (Obstructing or Impeding the

Administration of Justice) ordinarily indicates that the defendant has not accepted

responsibility for his criminal conduct.” U.S.S.G. § 3E1.1, cmt. n.4. The Notes later

add that “[t]he timeliness of the defendant’s acceptance of responsibility is a

consideration under both subsections, and is context specific.” U.S.S.G. § 3E1.1,

cmt. n.6.

      A consideration of the factors set forth in the Application Notes clearly

indicates that Mr. Palmer is entitled to the acceptance of responsibility adjustment.

Mr. Palmer promptly entered a guilty plea in this case, long before the vast majority

of the defendants who were charged in connection with the Capitol riot. As the

Government acknowledges, Mr. Palmer was indeed one of the first defendants to

plead guilty among the defendants who were charged with felony offenses. He,

likewise, promptly turned himself in to law enforcement as soon as he learned that

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he was under investigation. He then immediately admitted to his role in the offense

after his arrest. Likewise, at his change of plea hearing, he unequivocally admitted

to the factual basis that the Government proffered. Aside from entering a guilty plea

and accepting responsibility for the offense, Mr. Palmer has met with the

Government in an attempt to provide assistance in an effort to atone for offense.

      Unfortunately, while dealing with the stress of his incarceration (Exhibit A),

Mr. Palmer made the ill-thought-out decision to post to the donation website. He

did distort the timeline of the events and falsely claimed to have acted in defense

during the events at issue. After realizing the idiocy of his decision, he had the

website removed and refunded all of the donations he received.

      Notwithstanding his foolish decision to post the donation website, Mr. Palmer

continues to fully accept responsibility for his offense. Moreover, he even went

beyond mere acceptance of responsibility and made sincere efforts to provide

assistance to the Government. He has not gone back on his agreement to cooperate

with and provide assistance to the Government. He, furthermore, has already

provided counsel with the funds to pay his restitution, even after he has lost nearly

all of his other assets. Mr. Palmer has clearly accepted full responsibility for his

offense. To the extent any questions remains as to his acceptance of responsibility,

Mr. Palmer intends to genuinely express his sincere remorse for actions at



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sentencing. For those reasons, he asks that this Court apply the acceptance of

responsibility adjustment to his Guidelines calculation.

                      II. Overall Sentencing Considerations and
                      the Remaining 18 U.S.C. § 3553(a) Factors

      The facts and circumstances surrounding Mr. Palmer’s offense, though

certainly a serious one, do not call for the imposition of a sentence as high as the

advisory Guidelines would suggest. The Guidelines, “as a matter of administration

and to secure nationwide consistency[,]… should be the starting point and the initial

benchmark,” but are not the only consideration in sentencing. Gall v. United States,

552 U.S. 38, 49, 128 S.Ct. 586169 L.Ed.2d 445 (2007). After properly calculating

the Guidelines range, the Court must then make an individualized assessment of the

case and consider each of the factors set forth in 18 U.S.C. § 3553(a) before deciding

upon a sentence. Id. at 49-51. Those factors include:

      (1) the nature and circumstances of the offense;
      (2) the history and characteristics of the defendant;
      (3) the need for the sentence imposed to reflect the seriousness of the offense,
      to promote respect for the law, and to provide just punishment;
      (4) the need to protect the public; and
      (5) the Guidelines range, as well as
      (6) the kinds of sentences available;
      (7) the need to avoid sentencing disparities among similar defendants who
      have been found guilty; and
      (8) the need to provide restitution to victims of the offense.

United States v. Martin, 455 F.3d 1227, 1236 (11th Cir. 2006) (citations omitted).

A consideration of the various 3553(a) factors applicable in the instant case,

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including the nature and circumstances of the offense, the defendant’s history and

characteristics, and the need to provide just punishment, protect the public, and avoid

unjust sentencing disparities, all establish that a sentence within the applicable

proposed Guidelines range would be a punishment greater than necessary to

accomplish the purposes of sentencing set forth in § 3553(a).

    A. The Nature and Circumstances of the Offense and the Need to Provide
                               Just Punishment

      As Judge Mehta recently stated during sentencing in another Capitol riot case,

the citizens who participated in the Capitol riot were “called to Washington, DC, by

an elected official, prompted to walk to the Capitol by an elected official.” See

https://www.cnn.com/2021/11/19/politics/judge-blames-trump-riot/index.html

(accessed Dec. 11, 2021); United States v. John Lolos, 1:21-cr-00243-APM

(Sentencing held on November 19, 2021). People such as Mr. Palmer were “a pawn

in the game played by people who know better.” Id. “People like [him] were told

lies, were told falsehoods, were told the election was stolen when it was

not…Regrettably, people like [him] who were told those lies took it to heart. And

they are the ones paying the consequences.” Id.           Judge Mehta sentenced the

defendant in that case to 14 days incarceration despite having found that the

defendant appeared to be attempting to justify his conduct at sentencing. Id.




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      Mr. Palmer went to the Capitol at the behest of the former president. Like

many others who participated in the Capitol riot, Mr. Palmer blindly followed the

many figures who falsely but persistently claimed that the election had been stolen

from the president. Those voices, including the voice of the then-president himself,

had convinced persons such as Mr. Palmer that the election was fraudulent and that

they must take action to stop the transition of the presidency. In Mr. Palmer’s

warped mind, on the day in question, he was acting as a patriot and for the good of

the nation. While his intent was misplaced and his actions inexcusable, he sincerely

believed that he was acting as a patriot on the day in question. Unfortunately, that

mindset, coupled with the crowd mob effect, saw an otherwise law-abiding and

successful father and business owner assault Capitol police.

      Mr. Palmer realizes in retrospect that his actions hurt the nation. At the time

of his actions, he believed that he was acting in the country’s best-interests. As

distorted as his mindset was at that time, his heart was set on doing what he believed

was right. He knows now that he was wrong. He also accepts that the election was

legitimate and that he had no right to attempt to interfere with the governance of our

nation. He, likewise, accepts that he will be going to prison for his actions. (Exhibit

B).

      While many of the people who participated in the Capitol riot will be going to

prison, the architects of that horrific event will likely never be charged with any

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criminal offense. That is not to say that the people who participated in the “front

lines” of the riot should not be appropriately punished. In considering the facts and

the circumstances of the offense, however, it is relevant to consider that the riot

almost surely would not have occurred but for the financing and organization that

was conducted by persons unconnected to Mr. Palmer who will likely never be held

responsible for their relevant conduct.

      Based on the foregoing, Mr. Palmer asks this Court to consider the unique

facts and circumstance of this offense in determining a reasonable sentence pursuant

to section 3553(a).

                 B. Mr. Palmer’s History and Characteristics and
                        the Need to Protect the Public

      As documented in the presentence report, Mr. Palmer grew up in a very

unstable home and had tumultuous relationships with both of his parents. His

parents split when he was very young. His mother suffered from substance abuse

and adverse mental health conditions. He had very little contact with his mother

from that time onward.

      After his father remarried, Mr. Palmer suffered horrific abuse at the hands of

his father and stepmother. That abuse continued until Mr. Palmer made the decision

to leave his father’s home at the age of 15. From the age of 16, Mr. Palmer

essentially lived on his own and was without a stable home. During that time, he


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also became a victim of sexual abuse. Without a stable parental figure, he also

stopped attending school during that time.

      Despite his instability, Mr. Palmer was able to join the Navy and served for

two years. While he struggled with substance early on in his adult life, he was able

to overcome the addiction and become a loving father and business owner. From

his mid-20s until the time of the instant offense, Mr. Palmer was mostly a law

abiding and productive member of society. (Exhibit C).

      Mr. Palmer has, nonetheless, struggled with depression and substance abuse.

While he stopped the use of harder drugs in his 20s, he continued to self-medicate

with alcohol and marijuana. Stress from familial troubles and from running a

business as a sole proprietor no doubt continued to impact his adverse mental health

and substance abuse.

      Mr. Palmer’s traumatic childhood almost surely impacted his mental health

and substance abuse as an adult. (Exhibit D). While his mental health and substance

abuse do not excuse his actions, they do provide context. They also help explain

how an otherwise successful and law-abiding citizen can become so warped as to

believe that he would be justified in participating in a riot at the Capitol that

threatened the foundation of our democracy. As set forth above, Mr. Palmer was

exposed to a barrage of media that convinced him that the election had been “stolen”

from the former president. On the day in question, the former president himself led

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Mr. Palmer into that mindset. Mr. Palmer’s depression and ongoing substance abuse

surely contributed to his failure to then see the repugnance of the actions that were

subsequently taking place at the Capitol.

      While Mr. Palmer’s traumatic childhood and depression and substance abuse,

again, do not excuse his actions, he submits that they are relevant factors for the

Court to consider under section 3553(a). After receiving much needed mental health

and substance abuse treatment in the Bureau of Prisons, Mr. Palmer will be of little

risk to ever re-offend, particularly given his life history. Under the circumstances, a

sentence within the advisory Guidelines range would be a sentence that is far greater

than necessary to fulfill the recognized purposes of sentencing.

                            C. The Guidelines Calculation

      Mr. Palmer chose not to proceed to trial and instead pled guilty to Assaulting,

Resisting, or Impeding Certain Officers Using a Dangerous Weapon in violation of

18 USC §§ 111(a) and (b). The dangerous weapons were the items that Mr. Palmer

retrieved while at the Capitol – the fire extinguisher, wood, and pole. As a result of

the charge having involved a weapon, Mr. Palmer received a four-level enhancement

under U.S.S.G. § 2A2.2(b)(2)(B) for use of a weapon, as well as a two-level

enhancement under U.S.S.G. § 2A2.2(b)(7) for being charged under 18 U.S.C. §

111(b) for use of a weapon. An assault that resulted in physical contact, but that did

not involve a weapon, would trigger a Guidelines range that is six-levels lower than

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the range Mr. Palmer faces. Consequently, a defendant who actually strikes an

officer during an assault would face a Guidelines range that is 24 to 37 months lower

than the Guidelines range Mr. Palmer is facing. Moreover, Mr. Palmer has received

the same six-level enhancement that a defendant would receive for using a more

customarily dangerous weapon, such as a firearm. A defendant who commits an

assault on an officer with a firearm or knife would thereby face the same Guidelines

range that Mr. Palmer faces. While, again, Mr. Palmer accepts responsibility for his

offense and was well aware of the Guidelines range calculation when he entered his

plea, he asks this Court to consider the impact of the Guidelines range that results

from the unique facts of this case.

               D. The Need to Avoid Sentencing Disparities

      The Supreme Court has long held that “‘[i]t has been uniform and constant in

the federal judicial tradition for the sentencing judge to consider every convicted

person as an individual and every case as a unique study in the human failings that

sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.’”

Gall, 552 U.S. at 52 quoting Koon v. United States, 518 U.S. 81, 113, 116 S.Ct.

2035, 135 L.Ed.2d 392 (1996). The imposition of a sentence within the advisory

Guidelines range would be a sentence far greater than the sentences imposed to date

on any of the defendants who have been charged with offenses arising from the

Capitol riot. A comparison of Mr. Palmer’s relevant conduct and life history to the

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conduct and history of the other defendants who have been sentenced in connection

with the Capitol riot would not justify the disparity in sentences that a within-the-

Guidelines sentence would create. Given Mr. Palmer’s history, his mindset at the

time of the offense, his prompt acceptance of responsibility, and his efforts to

provide assistance to the Government, a sentence of 18 to 24 months incarceration

would be sufficient, but not greater than necessary to satisfy the purposes of

sentencing set out in 18 U.S.C. § 3553.

                                 CONCLUSION

      Based on the foregoing, Mr. Palmer respectfully requests that this Honorable

Court vary downward from the proposed advisory Guidelines range based on the

reasons set forth above and that it, likewise, consider the unique facts and

circumstances of this case and impose a sentence significantly below the adjusted

advisory Guidelines range.

                                              Respectfully Submitted,

                                              s/ Bjorn E. Brunvand
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 13, 2021, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a

notice of electronic filing to all counsel of record.



                                                s/ Bjorn E. Brunvand
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